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                      Exhibit 3
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               IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE
                                  CHAPTER 11
                           CASE NO. 08-13141(KJC)
       IN RE:                                      :
                                                   :
                                                   :
       TRIBUNE COMPANY, ET AL,                     :
                   DEBTORS.                        :


                Transcript of the videotape deposition of
     MARK SHAPIRO, called for Oral Examination in the
     above-captioned matter, said deposition taken by and
     before SILVIA P. WAGE, a Certified Shorthand
     Reporter, Certified Realtime Reporter, Registered
     Professional Reporter, and Notary Public for the
     State of New Jersey, at the offices of JONES DAY,
     222 East 41st Street, New York, New York, on
     Wednesday, October 13, 2010, commencing at 3:26 p.m.




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                                                                                 98
 1   signatures in, he effectively took over.                      I think
 2   that Randy -- Michael Zucele (phonetic) sent out an
 3   e-mail.     I believe he sent out an e-mail to the
 4   company informing them and that's when it took place
 5   or he sent out an e-mail to the Board informing them
 6   that we're making this move, you know, announcing
 7   it.    It might have been done in the press release, I
 8   can't remember.
 9             Q.          My question was -- just so I
10   understand your testimony, is it your testimony that
11   Mr. Liebentritt did not start becoming CRO at the
12   time -- on September 7th but waited until some --
13   until all the signatures were obtained?
14                         MR. CULLEN:       Objection, foundation,
15   form.
16             A.          I don't -- as I said, I don't know
17   exactly.       Signatures may have been obtained that
18   day.
19              What I know is that a determination was
20   made, folks consented, sent it in and Don continued
21   in his role.         This is a formal title is all this is.
22   As you know, Don has been the CRO for this process
23   for quite a long time.             His title just happened to
24   be general counsel.          But, in truth, he's spending
25   90 percent of his time working on the restructuring

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                                                                                99
 1   and probably not enough time working on the everyday
 2   day-to-day business operations of the company as
 3   acting general counsel.            So we just formalized the
 4   switch, put David in the role so that the company
 5   would have the proper attention of a full-time GC
 6   and the restructuring would have a full-time proper
 7   attention of a full-time CRO.
 8             Q.         Did Mr. Liebentritt after he became
 9   CRO continue to provide legal advice to the company?
10             A.         With regard to?
11             Q.         With regard to anything.
12                        MR. CULLEN:       Objection, foundation,
13   form.
14             A.         I don't know.        I have no idea.
15             Q.         I'll narrow it.
16              Did Mr. Liebentritt after he became CRO
17   continue to provide legal advice with respect to
18   restructuring matters?
19             A.         I have no idea.
20             Q.         Did you as head of the Special
21   Committee go up to Mr. Eldersveld for legal advice
22   in-house with respect to the restructuring?
23             A.         David Eldersveld, no, never, never
24   spoke more than once.
25             Q.         And who did -- with whom did you --

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